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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


   UNITED STATES OF AMERICA,

          Plaintiff,

   v.                                               Case No. 8:06-cr-314-T-30MAP

   TONY JEROME HENRY and
   HELENA JONES,

        Defendants.
   ______________________________/



                   ORDER VACATING THE PRELIMINARY
                 ORDERS OF FORFEITURE AS TO THE REAL
           PROPERTIES LOCATED AT 5606 S. 86TH STREET, TAMPA,
          FLORIDA AND 1841 CADILLAC CIRCLE, CLAIR MEL, FLORIDA

          THIS CAUSE comes before the Court upon the filing of the Motion (Doc. 326)

   of the United States of America to vacate the Preliminary Orders of Forfeiture (Docs.

   228 and 229) entered by this Court on November 2, 2007, only as to the real

   properties located at 5606 S. 86th Street, Tampa, Florida, and 1841 Cadillac Circle,

   Clair Mel, Florida.

          The Court hereby finds that the United States is no longer seeking forfeiture

   of the real properties located at 5606 S. 86th Street, Tampa, Florida, and 1841

   Cadillac Circle, Clair Mel, Florida, which were named in the Preliminary Orders of

   Forfeiture entered by this Court on November 2, 2007. Accordingly, it is hereby
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            ORDERED, ADJUDGED AND DECREED that for good cause shown, said

   Motion (Doc. 326) of the United States is hereby GRANTED.

            It is FURTHER ORDERED that the Preliminary Orders of Forfeiture are

   VACATED as to the following real properties:

                     a.       The real property, including all improvements thereon and
                              appurtenances thereto, located at 5606 S. 86th Street, Tampa,
                              Florida, which is legally described as follows:

                              Lot 62, Block 12, Progress Village Unit 1, according to the map
                              or plat thereof as recorded in Plat Book 35, Page 32, of the
                              Public Records of Hillsborough County, Florida; and

                     b.       The real property, including all improvements thereon and
                              appurtenances thereto, located at 1841 Cadillac Circle, Clair
                              Mel, Florida, which is legally described as follows:

                              Lot 14, Block 7, Clair Mel City Unit No. 3, according to the map
                              or plat thereof as recorded in Plat Book 34, Page 73, Public
                              Records of Hillsborough County, Florida.

            It is FURTHER ORDERED that all other aspects of the Preliminary Orders

   of Forfeiture remain in full force and effect.

            DONE and ORDERED in Tampa, Florida on November 4, 2008.




   Copies to:
   Anita M. Cream, AUSA
   Counsel of Record
   F:\Docs\2006\06-cr-314.Vacate 326.wpd



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